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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF MICHIGAN
 PDF FILE WITH AUDIO FILE ATTACHMENT

       2013-53846
       City of Detroit, Michigan



       Case Type :                    bk
       Case Number :                  2013-53846
       Case Title :                   City of Detroit, Michigan

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